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                                     #:86898



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10
11                  IN THE UNITED STATES DISTRICT COURT
12               FOR THE CENTRAL DISTRICT OF CALIFORNIA

13
14   NATURAL-IMMUNOGENICS, a                Case No.: 8:15-cv-02034-JVS-JCG
     Florida corporation,
15
16                      Plaintiff,          NOTICE OF SETTLEMENT IN
           v.                               PRINCIPLE AND STIPULATION TO
17                                          STAY DEADLINES
18   NEWPORT TRIAL GROUP, et al.,           Courtroom: 10C
                                            Judge: Hon. James V. Selna
19                      Defendants.
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                                     #:86899



1          PLEASE TAKE NOTICE THAT the Parties attended mediation as ordered
2    by the Court on December 6, 2021 before the Honorable Judge Guilford (Ret.). The
3    Parties have agreed to terms in principle, which must now be memorialized through
4    a final written agreement. The Parties hereby jointly request that the Court stay all
5    pre-trial deadlines (but maintain the current trial date and pre-trial date), and
6    otherwise stay this action pending finalization and execution of the settlement
7    agreement. The Parties will notify the Court of updates through additional status
8    reports.
9
10
11   DATED: December 8, 2021
12
13    FOR PLAINTIFF NATURAL                    FOR DEFENDANTS NTG AND SCOTT
      IMMUNOGENICS CORP.                       FERRELL
14
      /s/ Peter A. Arhangelsky                 /s/ David Darnell
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19    Attorneys for Plaintiff Natural-         Group PC, and Scott Ferrell
      Immunogenics
20
      FOR THE NON-NTG                          FOR THE ATTORNEY DEFENDANTS
21    DEFENDANTS
22    /s/ Brendan M. Ford                       /s/ Kyle Riddles
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      Nilon, Sam Schoonover, Sam Pfleg,        Knowles, David Reid, and Andrew Lee
27    Giovanni Sandoval, Taylor                Baslow
28
      Demulder, and Matthew Dronkers
      FOR DEFENDANTS REID AND
      KNOWLES
                NOTICE OF SETTLEMENT IN PRINCIPLE AND STIPULATION TO STAY DEADLINES
                                                 1
     Case 8:15-cv-02034-JVS-JCG Document 1265 Filed 12/08/21 Page 3 of 5 Page ID
                                     #:86900



1
2          Attestation pursuant to L.R. 5-4.3.4(a)(2)(i) regarding signatures: I, Peter A.
3
     Arhangelsky, attest that all other signatures listed, and on whose behalf this filing
     is submitted, concur in the filing’s content and have authorized the filing.
4
5
     DATED: December 8, 2021                 EMORD & ASSOCIATES, P.C.
6
7                                            By:     /s/ Peter A. Arhangelsky
                                                     Peter Arhangelsky
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                NOTICE OF SETTLEMENT IN PRINCIPLE AND STIPULATION TO STAY DEADLINES
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     Case 8:15-cv-02034-JVS-JCG Document 1265 Filed 12/08/21 Page 4 of 5 Page ID
                                     #:86901



1                              CERTIFICATE OF SERVICE
2
           I hereby certify that on December 8, 2021 the foregoing, NOTICE OF
3
     SETTLEMENT IN PRINCIPLE AND STIPULATION TO STAY
4
     DEADLINES was electronically filed using the Court’s CM/ECF system and was
5
6
     sent by that system to the following:

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           Attorneys for Ryan Ferrell. Andre Baslow, David Reid, and Victoria
28         Knowles
                NOTICE OF SETTLEMENT IN PRINCIPLE AND STIPULATION TO STAY DEADLINES
                                                 3
     Case 8:15-cv-02034-JVS-JCG Document 1265 Filed 12/08/21 Page 5 of 5 Page ID
                                     #:86902



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6
7                                                          /s/ Peter A. Arhangelsky
                                                           Peter A. Arhangelsky, Esq.
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               NOTICE OF SETTLEMENT IN PRINCIPLE AND STIPULATION TO STAY DEADLINES
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